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IN THE U'NITED STATES DISTRICT CCURT FlLED “ Db

FOR THE W'ESTERN DISTRICT OF TENNESSEE

wESTERN DIVISION 05 AUB 30 AH ll= 36

 

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UNITED sTATES 0F AMERICA 'D L“ nw "WH;S
Plaintiff,

vS. CR. No. 04-20270-13

ANDRES RAYo-MALDONADO
Defendant.

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ORDER ON CI'I.I\NGE OF PLEA
AND SETTING

 

‘I‘his cause came on to be heard on August 26, 2005, the United
States Attorney for this district, Katrina U. Earley, appearing for the
Government and the defendant, Andres Rayo-Maldonado, appearing in person
and with counsel, J. Patten Brown, III, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for TUESDAY, NOVEMBER 22, 2005, at
1:30 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

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ENTER.ED this the day of August, 2005.

 

 

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Th'\s document entered on the docket she
with Rule 55 and!or 320:)) FRCrP on n

   

UNITED sATE DSTIIC COURT - WESTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20270 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Linda N. Harris

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Honorable Bernice Donald
US DISTRICT COURT

